               Case 4:15-cr-40005-KES Document 84 Filed 03/21/17 Page 1 of 6 PageID #: 177


AO 245D       (Rev. 11/16) Judgment in a Criminal Case for Revocations
              Sheet 1
                                                                                                                            fe,,%
                                           United States District Court
                                                      District Of South Dakota, Southern Division

               UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                                                          {         (For Revocation ofProbation or Supervised Release)
                                     V.



                           Keeler
                           Keeler Hopkins
                                  Hopkins                                  >         Case Number:           4:I5CR40005-1
                                                                           \         USM Number:            08505-073

                                                                           ^         Jason J. Tupman
                                                                                     Defendant's Attorney

THE DEFENDANT:

I admitted guilt to violation(s)# 1 and 2 ofthe Petition to Revoke Supervised Release.
Q was adjudicated guilty by the Court of violation(s)# ofthe after a denial of guilt.
The defendant is adjudicated guilty ofthese violation(s):
                                                                                                                             Violation Ended
Violation Number            Nature of Violation
                                                                                                                                02/17/2017
          1                 Did purchase, possess, use, distribute, or administer a controlled substance, in violation of       02/11,
                            Standard Condition No. 7.
                                                                                                                                02/19/2017
          2                 Was terminated for cause in the program ofthe residential re-entry center, the Arch Halfway         02/19,
                            House, in violation of Special Condition No. 1.




The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.


■ The alleged violation(s)# 3 ofthe Petition to Revoke Supervised Release are dismissed.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered to pay
restitution, the defendant must notify the Court and United States attorney of material changes in economic circumstances.
                                                                           03/20/2017
                                                                           Date ofImposition ofJudgment




                                                                            Signature ofJudge




                                                                            Karen E. Schreier. United States DistricLJudgg^
                                                                               Name and Title ofJudge
              Case 4:15-cr-40005-KES Document 84 Filed 03/21/17 Page 2 of 6 PageID #: 178
                                                                                                                         Judgment - Page 2 of6


AO 245D (Rev. 11/16)Judgment in a Criminal Case for Revocations
           Sheet 2 — Imprisonment



 DEFENDANT:                    Keeler Hopkins
 CASE NUMBER:                  4:15CR40005-1


                                                              IMPRISONMENT


     ■      The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a
             total term of:    10 months.


     □      The Court makes the following recommendations to the Bureau of Prisons:




            The defendant is remanded to the custody of the United States Marshal.

     □      The defendant shall surrender to the United States Marshal for this district:
          □      at                                 □      a.m.   □     p.m.   on


          □      as notified by the United States Marshal.

     □       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          □      before 2 p.m. on

          □       as notified by the United States Marshal.

          □       as notified by the Probation or Pretrial Services Office.

                                                                      RETURN

  1 have executed this Judgment as follows:




           Defendant delivered on

                                                        ,with a certified copy of this Judgment.


                                                                                                      UNITED STATES MARSHAL




                                                                                                   DEPUTY UNITED STATES MARSHAL
              Case 4:15-cr-40005-KES Document 84 Filed 03/21/17 Page 3 of 6 PageID #: 179
                                                                                                                    Judgment - Page 3 of6

AO 245D (Rev. 11/16) Judgment in a Criminal Case for Revocations
           Sheet 3 — Supervised Release

 DEFENDANT;                   Keeler Hopkins
 CASE NUMBER:                 4:15CR40005-1

                                                          SUPERVISED RELEASE

 Upon release from imprisonment, you will be on supervised release for a term of:             22 months.

                                                      MANDATORY CONDITIONS
 1. You must not commit another federal, state, local, or tribal crime.
 2. You must not unlawfully possess a controlled substance.
 3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days ofrelease from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
          □       The above drug testing condition is suspended, based on the court's determination that you
                     pose a low risk of future substance abuse. (Check, if applicable.)
 4. ■ You must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 5. □ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, etseq.) as
      directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
           are a student, or were convicted of a qualifying offense. (Check, ifapplicable.)
 6. ■ You must participate in an approved program for domestic violence. (Check, ifapplicable.)

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
              Case 4:15-cr-40005-KES Document 84 Filed 03/21/17 Page 4 of 6 PageID #: 180
                                                                                                                         Judgment - Page 4 of6

AO 245D (Rev. 11/16) Judgment in a Criminal Case for Revocations
        Sheet 3A — Supervised Release

 DEFENDANT;                   Keeler Hopkins
 CASE NUMBER:                 4:15CR40005-1

                                        STANDARD CONDITIONS OF SUPERVISION

 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame.

 2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
 3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
 4. You must answer truthfully the questions asked by your probation officer.
 5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
 6. You must allow the probation officer to visit you at reasonable times, at your home or elsewhere, and you must permit the probation
    officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7. You must work full time (at least 30 hours per week)at a lawful type ofemployment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
     responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
     days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
      aware of a change or expected change.
 8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
      probation officer.
 9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injuiy or death to another person such as nunchakus or tasers).
 11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission ofthe court.
 12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
     person and confirm that you have notified the person about the risk.
 13. You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised Release
Conditions, available at: www.uscourts.gov.


Defendant's Signature
             Case 4:15-cr-40005-KES Document 84 Filed 03/21/17 Page 5 of 6 PageID #: 181
                                                                                                           Judgment - Page 5 of6

AO 245B    (Rev. 11/16) Judgment in a Criminal Case
           Conditions of Supervision



DEFENDANT:                  Keeler Hopkins
CASE NUMBER:                4:15CR40005-1


                                         SPECIAL CONDITIONS OF SUPERVISION




    1. The defendant shall reside and participate in a residential reentry center as directed by the probation office. The
       defendant shall be classified as a prerelease case.

    2. The defendant shall not consume any alcoholic beverages or intoxicants. Furthermore, the defendant shall not
       frequent establishments whose primary business is the sale of alcoholic beverages.

   3. The defendant shall submit a sample of his blood, breath, or bodily fluids at the discretion or upon the request of the
          probation office.

   4. The defendant shall participate in a program approved by and at the direction ofthe probation office for the treatment
          of substance abuse.


    5. The defendant shall participate in and complete a cognitive behavioral training program as directed by the probation
          office.


   6. The defendant shall wear a Remote Location Monitoring Device and comply with the provisions of the District of
      South Dakota Home Confinement Participation Agreement, if and as directed by the probation office.
              Case 4:15-cr-40005-KES Document 84 Filed 03/21/17 Page 6 of 6 PageID #: 182
                                                                                                                           Judgment - Page 6 of6

AO 245D (Rev. 11/16) Judgment m a Criminal Case for Revocations
        Sheet 5- Criminal Monetary Penalties


DEFENDANT:                         Keeler Hopkins
CASE NUMBER:                       4:15CR40005-1


                                              CRIMINAL MONETARY PENALTIES

     You must pay the total criminal monetary penalties under the Schedule ofPayments on Sheet 6.

                               Assessment           JVTA Assessment*          Fine                          Restitution
ORIGINAL TOTALS                $100                                           Waived                        None

PRINCIPAL
BALANCE DUE                    $0.00

□       The determination of restitution is deferred until.
        An Amended Judgment in a Criminal Case(A0245C) will be entered after such determination.

□       You must make restitution (including community restitution) to the following payees in the amount listed below.

       If you make a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the
       priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
        before the United States is paid.
Name of Payee                                                Total Loss**            Restitution Ordered             Priority or Percentage




TOTALS                                                $                              $

□      Restitution amount ordered pursuant to Plea Agreement $

□       You must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the Judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

□       The Court determined that you do not have the ability to pay interest and it is ordered that:

       □       the interest requirement is waived for the         □   fine    □      restitution.

       □       the interest requirement for the      □       fine     □      restitution is modified as follows:




* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and 113 A of Title 18 for offenses committed on
or after September 13,1994, but before April 23,1996.
